

Matter of Bonacarti v Mayor's Off. of Criminal Justice (2023 NY Slip Op 01227)





Matter of Bonacarti v Mayor's Off. of Criminal Justice


2023 NY Slip Op 01227


Decided on March 09, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 09, 2023

Before: Acosta, P.J., Kapnick, Shulman, Higgitt, JJ. 


Index No. 151420/22 Appeal No. 17489 Case No. 2022-03229 

[*1]In the Matter of Alexandra Bonacarti, Petitioner-Appellant,
vMayor's Office of Criminal Justice et al., Respondents-Respondents.


Bergstein and Ullrich, New Paltz (Stephen Bergstein of counsel), for appellant.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Rebecca L. Visgaitis of counsel), for respondents.



Judgment (denominated an order), Supreme Court, New York County (Arlene Bluth, J.), entered on or about June 15, 2022, denying the petition to annul respondents' determination, dated December 10, 2021, which terminated petitioner's employment with respondent Mayor's Office of Criminal Justice, and dismissing the proceeding brought pursuant to CPLR article 78, unanimously affirmed, without costs.
As a probationary employee, petitioner "may be discharged for any or no reason at all in the absence of a showing that . . . her dismissal was in bad faith, for a constitutionally impermissible purpose or in violation of law" (Matter of Smith v New York City Dept. of Correction, 292 AD2d 198, 198-199 [1st Dept 2022] [internal quotation marks omitted]). Petitioner alleged no unlawful motive for her termination and failed to satisfy her burden of demonstrating bad faith. Petitioner's own affidavits attesting to her satisfactory job performance did not create a substantial issue of bad faith sufficient to warrant a hearing in light of respondents' submission of a termination memo documenting several performance failures, which provided a rational basis for respondents' decision (see Matter of Adelana v New York City Dept. of Educ., 194 AD3d 463, 464 [1st Dept 2021]; Matter of Francois v Walcott, 136 AD3d 434 [1st Dept 2016]).
We have considered petitioner's remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 9, 2023








